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                       UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_________________________________________________                   ___
GRADY MORGAN                              :
                                          :
            Plaintiff,                    :           JURY DEMANDED
                                          :
            v.                            :
                                          :           No.: 2:23-cv-03412
TEMPLE UNIVERSITY                         :
                                          :
            Defendant.                    :
__________________________________________________________________


                                STIPULATION OF DISMISSAL

       The parties to this action, acting through counsel, and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) hereby stipulate to the Dismissal with Prejudice of this action. All

parties are to bear their own costs.

                                                     Respectfully submitted,


Date: May 20, 2024


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